                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION

 UNITED STATES OF AMERICA                         )   DOCKET NO. 5:12-cr-49-RLV
                                                  )
                                                  )
         v.                                       )
                                                  )   GOVERNMENT'S EXHIBIT LIST
 (1) MARTIN MARTINEZ SALDANA                      )
                                                  )
                                                  )

        NOW COMES the United States of America, by and through Anne M. Tompkins, United
States Attorney for the Western District of North Carolina and files its exhibit list in this case. The
government reserves the right to add additional exhibits than those listed herein as may be referred to
in the government's case file or as they may come to the attention of the government subsequent to the
preparation of this list. The government further reserves the right to withdraw any exhibits listed
herein at trial or prior thereto.


 EXH     DESCRIPTION & REMARKS                                      IDENT       REC=D       Witness
  1      Photographs of co-conspirators

   1a    Photograph of Danny Eller

   1b    Photograph of Bobby Shore

   1c    Photograph of Jose Francisco Jimenez Pina (Sr.)

   1d    Photograph of Jose Humberto Jimenez Pina (Jr.)

   1e    Photograph of James Hawkins

   1f    Photograph of Martin Saldana

   1g    Photograph of Clara Jean Caudell

   2     Methamphetamine purchased from Bobby Shore

   2a    Methamphetamine purchased from Bobby Shore on
         8/17/2012
   2b    Methamphetamine purchased from Bobby Shore on

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     8/24/2012
2c   Methamphetamine purchased from Bobby Shore on
     8/30/2012
2d   Methamphetamine purchased from Bobby Shore on
     9/7/2012
2e   Methamphetamine purchased from Bobby Shore on
     9/10/2012
2f   Methamphetamine purchased from Bobby Shore on
     9/13/2012
2g   Methamphetamine purchased from Bobby Shore on
     9/20/2012
2h   Property report for methamphetamine purchased from
     Bobby Shore
2i   Laboratory report for methamphetamine purchased
     from Bobby Shore
3    Methamphetamine purchased from Danny Eller

3a   Methamphetamine purchased from Danny Eller on
     10/9/2012
3b   Methamphetamine purchased from Danny Eller on
     10/10/2012
3c   Methamphetamine purchased from Danny Eller on
     10/23/2012
3d   Property report for methamphetamine purchased from
     Danny Eller
3e   Lab report for methamphetamine purchased from
     Danny Eller
4    Methamphetamine seized during search of Danny
     Eller’s residence on 10/26/2012
4a   Methamphetamine seized during search of Danny
     Eller’s residence on 10/26/2012
4b   Methamphetamine seized during search of Danny
     Eller’s residence on 10/26/2012
4c   Lab report for methamphetamine seized during search
     of Danny Eller’s residence on 10/26/2012
5    Methamphetamine purchased by Danny Eller from Jose
     Pina (on 10/30/2012 and 11/7/2012)
5a   Methamphetamine purchased by Danny Eller from Jose
     Pina (on 10/30/2012)
5b   Wrapping for methamphetamine purchased by Danny
     Eller from Jose Pina (on 10/30/2012)
5c   Methamphetamine purchased by Danny Eller from Jose

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     Pina (on 11/7/2012)
5d   Wrapping for methamphetamine purchased by Danny
     Eller from Jose Pina (on 11/7/2012)
5e   Property report for methamphetamine purchased by
     Danny Eller from Jose Pina (on 10/30/2012 and
     11/7/2012)
5f   Lab report for methamphetamine purchased by Danny
     Eller from Jose Pina (on 10/30/2012 and 11/7/2012)
6    Methamphetamine seized on 12/12/2012 from Bobby
     Shore’s residence
6a   Methamphetamine seized on 12/12/2012 from Bobby
     Shore’s residence (lab item 1)
6b   Methamphetamine seized on 12/12/2012 from Bobby
     Shore’s residence (lab item 2)
6c   Lab report for methamphetamine seized on 12/12/2012
     from Bobby Shore’s residence
6d   Wrapping for methamphetamine seized on 12/12/2012
     from Bobby Shore’s residence
7    Body wire recording of Martin Saldana and Danny
     Eller meeting on 12/11/12
7a   Clip of body wire recording of Martin Saldana and
     Danny Eller meeting on 12/11/12
7b   Transcript of body wire recording of Martin Saldana
     and Danny Eller meeting on 12/11/12
8    Body wire recording of Martin Saldana and Bobby
     Shore meeting on 12/12/12
8a   Clip of body wire recording of Martin Saldana and
     Bobby Shore meeting on 12/12/12
8b   Transcript of body wire recording of Martin Saldana
     and Bobby Shore meeting on 12/12/12
9    Photographs of 12/12/12 search of Saldana’s residence

10   Firearm at 148 Ervin Houck (Hermann Weihrauch,
     model HW7T, .22 caliber revolver)
11   Firearm at 148 Ervin Houck (Tanfoglio .22 caliber
     pistol)
12   Firearm at 148 Ervin Houck (Tanfoglio .22 caliber
     revolver)
13   Firearm at 148 Ervin Houck (Harrington & Richardson
     Arms 12-gauge shotgun)
14   Physical evidence recovered from Martin Saldana’s
     residence (148 Ervin Houck)

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14a   Physical evidence recovered from Martin Saldana’s
      residence (148 Ervin Houck) (ID and cell phone)
14b   Physical evidence recovered from Martin Saldana’s
      residence (148 Ervin Houck) (3 Santa Muerte images
      and $247,400 and other dollar figures on papers)
14c   Physical evidence recovered from Martin Saldana’s
      residence (148 Ervin Houck) (drug packaging materials
      found in Martin Saldana’s garage)
15    National Firearms Registration and Transfer Record
      Search Certificate package
16    Methamphetamine seized on 2/12/2013 from Martin
      Saldana’s property (148 Ervin Houck)
16a   Methamphetamine seized on 2/12/2013 from Martin
      Saldana’s property (148 Ervin Houck) (lab item 1)
16b   Methamphetamine seized on 2/12/2013 from Martin
      Saldana’s property (148 Ervin Houck) (lab item 2)
16c   Methamphetamine seized on 2/12/2013 from Martin
      Saldana’s property (148 Ervin Houck) (lab item 3)
16d   Methamphetamine seized on 2/12/2013 from Martin
      Saldana’s property (148 Ervin Houck) (lab item 4)
16e   Wrappings from methamphetamine seized on
      2/12/2013 from Martin Saldana’s property (148 Ervin
      Houck)
16f   Laboratory report for methamphetamine seized on
      2/12/2013 from Martin Saldana’s property (148 Ervin
      Houck)
16g   Photographs from search of Martin Saldana’s property
      on 2/12/2013
17    Bank check for $49,980 found at Martin Saldana’s
      residence on 2/12/2013
18    Martin Saldana’s statement to law enforcement
      12/12/2012
19    Map of Saldana’s residence and surrounding area
      (satellite view)
      Plea Agreements

20    Plea agreement of Danny Eller

21    Plea agreement of Bobby Shore

22    Plea agreement of Jose Francisco Jimenez Pina (Sr.)



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23     Plea agreement of James Hawkins

24     Plea agreement of Clara Jean Caudell

       Debrief Reports

25     Debrief reports of Danny Eller

26     Debrief report of Bobby Shore

27     Debrief report of Jose Francisco Jimenez Pina Plea (Sr.)

28     Debrief report of James Hawkins

29     Debrief report of Clara Jean Caudell

30     Saldana phone download

30a    Photographs (5) from Saldana’s phone

31     Certified subscriber information (including Saldana’s
       phone)




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may be referred to in the government's case file or as they may come to the attention of the

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to withdraw any exhibits listed herein at trial or prior thereto.




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       Respectfully submitted this 18th day of February 2014.

                                        ANNE M. TOMPKINS
                                        UNITED STATES ATTORNEY

                                        /s/ Steven R. Kaufman
                                        STEVEN R. KAUFMAN
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                                        Steven.Kaufman@usdoj.gov



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of February 2014, the foregoing was duly served

upon the defendant herein through defendant's attorney of record via electronic filing:

               Rick Canales, Esq.
               Denzil Forrester, Esq.

                                        /s/ Steven R. Kaufman
                                        STEVEN R. KAUFMAN
                                        ASSISTANT UNITED STATES ATTORNEY




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